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  1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                               EASTERN DIVISION
  3
      UNITED STATES OF AMERICA,                )
  4                                            )
                            Plaintiff,         )
  5                                            )   Case No. 09 CR 383
      -vs-                                     )
  6                                            )   Chicago, Illinois
    ALFREDO VASQUEZ-HERNANDEZ and              )   September 12, 2013
  7 TOMAS AREVALO-RENTERIA,                    )   11:03 a.m.
                                               )
  8                         Defendants.        )
  9
                            TRANSCRIPT OF PROCEEDINGS
10                     BEFORE THE HONORABLE RUBEN CASTILLO
11     APPEARANCES:
12     For the Government:         HON. GARY S. SHAPIRO
                                   UNITED STATES ATTORNEY
13                                 BY: MR. THOMAS D. SHAKESHAFT
                                   219 S. Dearborn Street
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16     For Defendant
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21     Court Reporter:
22                   KATHLEEN M. FENNELL, CSR, RPR, RMR, FCRR
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  1    APPEARANCES: (Continued)
  2    For the Defendant
       Vasquez-Hernandez:          MR. PAUL M. BRAYMAN
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       For the Defendant
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             1          (Proceedings heard in open court:)
             2               THE CLERK: 09 CR 383, United States versus Alfredo
             3    Vasquez-Hernandez and Tomas Arevalo-Renteria.
             4               THE COURT: Good morning.
11:03:51     5               MR. SHAKESHAFT: Good morning, your Honor. Tom
             6    Shakeshaft on behalf of the United States.
             7               MR. HERNANDEZ: Good morning, your Honor. Arturo
             8    Hernandez on behalf of Mr. Vasquez-Hernandez who's present in
             9    court to be assisted by the court interpreter.
11:04:03   10                THE COURT: Okay.
           11                MR. BRAYMAN: Good morning, Judge. Paul Brayman and
           12     Lisa Wood also on behalf of Mr. Vasquez. Good morning.
           13                THE COURT: Let's swear in our interpreter.
           14                MR. CHERONIS: Damon Cheronis on behalf of
11:04:17   15     Mr. Arevalo-Renteria.
           16           (Interpreter sworn.)
           17                THE COURT: Okay. We've already set a trial date in
           18     this case, and I know the defense has filed several motions.
           19     My intent would be to give the government some time to respond
11:04:36   20     in writing, Mr. Shakeshaft.
           21                MR. SHAKESHAFT: Your Honor, the motions that they
           22     filed, we did, in fact, respond.
           23                THE COURT: Okay.
           24                MR. SHAKESHAFT: I filed two responses.
11:04:44   25                THE COURT: Okay.
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             1               MR. SHAKESHAFT: When we were last before your Honor,
             2    I had forgotten that we had actually responded to --
             3               THE COURT: Okay. So you want to stand on those
             4    responses.
11:04:50     5               MR. SHAKESHAFT: I do, and we've had numerous
             6    conversations about those motions. They are -- they
             7    originally were the motion for severance, which we agreed to.
             8               THE COURT: Right.
             9               MR. SHAKESHAFT: They're a motion for a Bill of
11:05:02   10     Particulars from Mr. Vasquez-Hernandez, which I understand
           11     through counsel they're either prepared to withdraw or simply
           12     have denied. We have walked through discovery, and I think
           13     there's consensus.
           14                THE COURT: Okay. Let's pause on that.
11:05:12   15                Are you willing to withdraw it?
           16                MR. HERNANDEZ: Yes, your Honor. The only other item
           17     that I needed to address the Court is the motion for severance
           18     for Mr. Arevalo.
           19                THE COURT: Okay.
11:05:21   20                MR. HERNANDEZ: I think the Court indicated at that
           21     point was granting the motion -- was not granting the motion
           22     without prejudice.
           23                So if there's something new that we can file in the
           24     near future, depending on what the --
11:05:35   25                THE COURT: So you want to renew that motion.
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             1               MR. HERNANDEZ: Correct.
             2               THE COURT: Okay.
             3               MR. HERNANDEZ: We'll just reserve that.
             4               THE COURT: Okay.
11:05:41     5               MR. SHAKESHAFT: We continue to oppose it for the
             6    reasons that --
             7               THE COURT: I understand. Until there's a renewed
             8    motion, I'm not going to address that.
             9               We will withdraw the motion for Bill of Particulars.
11:05:52   10     And what does that leave, a discovery dispute?
           11                MR. SHAKESHAFT: It leaves the discovery issues that,
           12     frankly, there are no disputes that are ripe for the Court's
           13     determination. I understood both motions to frankly be sort
           14     of boilerplate.
11:06:07   15                THE COURT: Right.
           16                MR. SHAKESHAFT: And the government's response to
           17     that is that we are well aware of our Brady, Giglio and other
           18     obligations. As I described to counsel, there is, I think --
           19     we have produced what I would estimate as 90 to 95% of the
11:06:18   20     discovery.
           21                THE COURT: Okay.
           22                MR. SHAKESHAFT: The remainder is some 3500 and
           23     Giglio material, which I have pledged to get to counsel in the
           24     event that we are rolling towards a trial date.
11:06:31   25                I am not going to ask your Honor for delayed
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             1    discovery as we did previously. What I have proposed to
             2    counsel is December 6th as a date for -- the trial date is
             3    January 21st -- for all of the usual pretrial filings.
             4               We have about an 85-page Santiago proffer already on
11:06:47     5    file which I would supplement, any 404(b), and a
             6    representation that by December 6th, if not earlier, I will
             7    produce all 3500 and Giglio material that is in the possession
             8    of the government.
             9               THE COURT: Okay. Are defense counsel satisfied with
11:07:03   10     the December 6th date?
           11                MR. HERNANDEZ: Yes, your Honor, on behalf of
           12     Vasquez-Hernandez.
           13                MR. CHERONIS: That's fine with Mr. Arevalo, your
           14     Honor.
11:07:14   15                MR. BRAYMAN: Judge, can I just address one issue --
           16                THE COURT: Yes, Sure.
           17                MR. BRAYMAN: -- as the trial date goes?
           18                THE COURT: Absolutely.
           19                MR. BRAYMAN: When the trial date was set in this
11:07:20   20     case of January 21st, I had a case pending before Judge Wilson
           21     in state court. It's the NATO --
           22                THE COURT: Okay.
           23                MR. BRAYMAN: -- terrorist charge. And that was
           24     supposed to go to trial in September; but, in the meantime,
11:07:31   25     because of discovery problems, that trial date has been
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             1    switched to January 6th.
             2               THE COURT: Okay.
             3               MR. BRAYMAN: And when I was before Judge Wilson, I
             4    indicated that I was set on trial here for the 21st. And that
11:07:44     5    kind of fell on deaf ears, and he still kept January 6th in
             6    that case as the trial date. And that trial will probably
             7    last at least a month.
             8               So I don't know what to do to solve this problem. I
             9    guess I would ask if your Honor would consider changing this
11:08:04   10     trial date to a little bit longer so that I could do that
           11     trial and complete that trial before we go to trial on this
           12     case.
           13                THE COURT: So the answer is I will consider it, but
           14     I don't think I need to consider it just yet until we move a
11:08:18   15     little bit closer --
           16                MR. BRAYMAN: Okay.
           17                THE COURT: -- to the trial date. So -- but it seems
           18     to me that I should do, unless you tell me that there is some
           19     pending dispute that I need to resolve for you, is just set
11:08:36   20     another status date and have you come back here, and we should
           21     talk again. And I think at that point, in fairness to you and
           22     your trial preparation, we can talk about what your situation
           23     is with the Judge Wilson case.
           24                So I would suggest maybe coming back here the first
11:08:55   25     week in November.
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             1               MR. SHAKESHAFT: That is fine.
             2               THE COURT: How about November 6th at 11:00 o'clock
             3    again.
             4               MR. SHAKESHAFT: That's fine with the government,
11:09:05     5    your Honor. We just ask that time be excluded.
             6               THE COURT: Time will be excluded, given all the
             7    issues that remain in this case and the ongoing work on both
             8    sides to prepare for trial.
             9               MR. CHERONIS: I'll be on trial that day, your Honor,
11:09:21   10     but I'll have somebody here.
           11                THE COURT: Okay. That would be great.
           12                MR. CHERONIS: I don't think there's going to be
           13     anything --
           14                THE COURT: I would appreciate that.
11:09:27   15                MR. SHAKESHAFT: Thank you, your Honor.
           16                MR. HERNANDEZ: Thank you, your Honor.
           17                THE COURT: Thank you very much.
           18           (Which were all the proceedings heard.)
           19                                     CERTIFICATE
           20           I certify that the foregoing is a correct transcript from
           21     the record of proceedings in the above-entitled matter.
           22     /s/Kathleen M. Fennell                   November 7, 2013
           23
                  Kathleen M. Fennell                            Date
           24     Official Court Reporter
           25
